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                     EXHIBIT 29
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                                                        City of Houston
                                                 "Food Service Events" Violations
      Date                          Citation #                                 Report #                          Defendant
 Wednesday, March 1, 2023           M70984085                                 0301285‐23                   Benjamin Craft‐Rendon
      Friday, March 3, 2023         N38925616                                 0312317‐23                        Phillip Picone
    Monday, March 6, 2023           M70984090                                 0326390‐23                          Sheri Dore
    Tuesday, March 7, 2023          N38821501                                 0331626‐23                         Mirza Soufia
 Wednesday, March 8, 2023           M70984094                                 0337224‐23                     Rebecca Lavergne
   Monday, March 13, 2023           M70984096                                 0362908‐23                          Sheri Dore
   Tuesday, March 14, 2023          N38821544                                 0367686‐23                    Mohammed Pathan
Wednesday, March 15, 2023           N38819435                                 0373030‐23                       Elisa Meadows
     Friday, March 17, 2023         N38925661                                 0383540‐23                       Jamaiya Miller
   Monday, March 20, 2023           M70984098                                 0397255‐23                      Nicholas Cooper
Wednesday, March 22, 2023           M70984100                                 0407778‐23                          Sheri Dore
   Monday, March 27, 2023           M70984105                                 0433254‐23                     Rebecca Lavergne
Wednesday, March 29, 2023           N38821553                                 0443890‐23                          Sheri Dore
  Thursday, March 30, 2023          N36527845                                 0450099‐23                         Austin Lewis
     Friday, March 31, 2023         M70984109                                 0455416‐23                          Sheri Dore
       Sunday, April 2, 2023        M70984110                                 0464761‐23                        Jacob Woody
      Monday, April 3, 2023         M70984112                                 0470077‐23                          Sheri Dore
  Wednesday, April 5, 2023          N38821562                                 0479961‐23                      Nicholas Cooper
    Monday, April 10, 2023          N38820625                                 0504582‐23                        Jacob Woody
 Wednesday, April 12, 2023          N38821571                                 0515036‐23                        Jacob Woody
    Monday, April 17, 2023          N38821587                                 0541009‐23                         Lena Craven
 Wednesday, April 19, 2023          M70984123                                 0551220‐23                       Russel Adams
    Monday, April 24, 2023          M70984125                                 0576290‐23                       Russel Adams
 Wednesday, April 26, 2023          M70984130                                 0587593‐23                       Aliene Adams
      Monday, May 1, 2023           M70984134                                 0614295‐23                          Sheri Dore
   Wednesday, May 3, 2023           M70984143                                 0625972‐23                        Jacob Woody
      Monday, May 8, 2023           M70984149                                 0651660‐23                          Sheri Dore
 Wednesday, May 10, 2023            M70984150                                 0661815‐23                        Jacob Woody
     Monday, May 15, 2023           M70984158                                 0687884‐23                          Sheri Dore
 Wednesday, May 17, 2023            N38560094                                 0698760‐23                     Rebecca Lavergne
     Monday, May 22, 2023           M70984170                                 0724982‐23                   Benjamin Craft‐Rendon
 Wednesday, May 24, 2023            M70984175                                 0736302‐23                        Alan J. Foster
      Monday, June 5, 2023          N38554652                                 0798768‐23                       Elisa Meadows
  Wednesday, June 7, 2023           M70984190                                 0809026‐23                          Sheri Dore




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        Monday, June 12, 2023        M70984194                        0835745‐23                            Jacob Woody
    Wednesday, June 14, 2023         M70984196                        0846692‐23                            Alan J. Foster
    Wednesday, June 21, 2023         M70984200                        0881981‐23                            Jacob Woody
        Monday, June 26, 2023        M70984209                        0907499‐23                           Elisa Meadows
    Wednesday, June 28, 2023         M70984210                        0918232‐23                              Sheri Dore
      Wednesday, July 5, 2023        M70984213                        0953789‐23                            Alan J. Foster
        Monday, July 10, 2023        M70984214                        0978248‐23                              Sheri Dore
     Wednesday, July 12, 2023        M80012006                        0989732‐23                            Jacob Woody
        Monday, July 17, 2023        M80012012                        1014956‐23                              Sheri Dore
     Wednesday, July 19, 2023        M80012017                        1026297‐23                            Alan J. Foster
        Monday, July 24, 2023        M80012018                        1052397‐23                              Sheri Dore
     Wednesday, July 26, 2023        M80012020                        1062964‐23                         John Brian Locke
        Monday, July 31, 2023        M80012024                        1087573‐23                           Elisa Meadows
    Wednesday, August 2, 2023        M80012025                        1098103‐23                            Alan J. Foster
       Monday, August 7, 2023        M80012026                        1124428‐23                           Elisa Meadows
    Wednesday, August 9, 2023        M80012027                        1134368‐23                        Derek Huddleston
     Monday, August 14, 2023         M80012038                        1160817‐23                           Judith Hoffhien
   Wednesday, August 16, 2023        M80012041                        1171472‐23                             Lena Craven
     Monday, August 21, 2023         M80012046                        1197341‐23                              Sheri Dore
   Wednesday, August 23, 2023        N38820643                        1207909‐23                         John Brian Locke
     Monday, August 28, 2023         M80012052                        1233735‐23                         Renee Hernandez
   Wednesday, August 30, 2023        N38555937                        1243758‐23                          Jennifer Watson
 Wednesday, September 6, 2023        M80012072                        1278898‐23                         John Brian Locke
  Monday, September 11, 2023         M80012082                        1305306‐23                         John Brian Locke
Wednesday, September 13, 2023        M80012085                        1315738‐23                          Jennifer Watson
  Monday, September 18, 2023         M80012090                        1341372‐23                        Mary Marcia Wior
Wednesday, September 20, 2023        M80012096                        1352378‐23                         Ashley Greco Ellis
  Monday, September 25, 2023         M80012104                        1378340‐23                        David Robert Monk
Wednesday, September 27, 2023        N39273044                        1388962‐23                         Russell Nasrallah
     Monday, October 2, 2023         M80012115                        1415118‐23                            Tracy Hamblin
   Wednesday, October 4, 2023        M80012116                        1425181‐23                            Alan J. Foster
     Monday, October 9, 2023         N38554661                        1450354‐23                        Mary Marcia Wior
  Wednesday, October 11, 2023        M80012151                        1460632‐23                            Alan J. Foster
    Monday, October 16, 2023         M80012164                        1485460‐23                         John Brian Locke
  Wednesday, October 18, 2023        M80012166                        1495988‐23                         John Brian Locke
    Monday, October 23, 2023         M80012177                        1521867‐23                         John Brian Locke
  Wednesday, October 25, 2023        N34179381                        1531973‐23                        Mary Marcia Wior




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    Monday, October 30, 2023         M80012191                        1557790‐23                        John Brian Locke
 Wednesday, November 1, 2023         N39274417                        1567375‐23                        John Brian Locke
   Monday, November 6, 2023          M80012201                        1592910‐23                        Nicholas Cooper
 Wednesday, November 8, 2023         N38559841                        1603476‐23                        John Brian Locke
  Monday, November 13, 2023          M81007907                        1625868‐23                        John Brian Locke
Wednesday, November 15, 2023         N34179397                        1636166‐23                        John Brian Locke
  Monday, November 20, 2023          N8554677                         1660759‐23                        John Brian Locke
  Monday, November 27, 2023          N38554686                        1691490‐23                        John Brian Locke
Wednesday, November 29, 2023         M81007909                        1701904‐23                        John Brian Locke
   Monday, December 4, 2023          M81007919                        1727273‐23                        John Brian Locke
 Wednesday, December 6, 2023         N38560137                        1737557‐23                        John Brian Locke
  Monday, December 11, 2023          M70919384                        1761687‐23                        John Brian Locke
Wednesday, December 13, 2023         N39273071                        1771521‐23                        John Brian Locke
  Monday, December 18, 2023          M1791986                         1795958‐23                        John Brian Locke
Wednesday, December 20, 2023         M70919387                        1806036‐23                        John Brian Locke
Wednesday, December 27, 2023         M70919403                        1837716‐23                        John Brian Locke
   Wednesday, January 3, 2024        M70919407                        0012874‐24                        John Brian Locke
     Monday, January 8, 2024         M81007980                        0037691‐24                        John Brian Locke
  Wednesday, January 10, 2024        M70919408                        0047755‐24                        John Brian Locke
  Wednesday, January 17, 2024        M81007993                        0081422‐24                        John Brian Locke
    Monday, January 22, 2024         M70919419                        0105562‐24                           Sheri Dore
  Wednesday, January 24, 2024        N38554704                        0114963‐24                        John Brian Locke
    Monday, January 29, 2024         M70919420                        0140662‐24                        John Brian Locke
  Wednesday, January 31, 2024        M70919421                        0151280‐24                        John Brian Locke
    Monday, February 5, 2024         M81008068                        0177030‐24                        John Brian Locke
  Wednesday, February 7, 2024        M70919430                        0187947‐24                        John Brian Locke
   Monday, February 12, 2024         M70919435                        0212857‐24                        John Brian Locke




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